Case 8:18-cv-01253-JLS-ADS Document 184 Filed 03/22/21 Page 1 of 33 Page ID
                                #:53108



 1
 2
 3
 4
 5
 6
 7
 8                            UNITED STATES DISTRICT COURT
 9                           CENTRAL DISTRICT OF CALIFORNIA
10
     ORGAIN, INC.,                             CASE NO. 8:18-cv-01253-JLS-ADS
11
12              Plaintiff,
13                                             ORDER (1) GRANTING IN PART
          v.                                   DEFENDANTS’ MOTION FOR
14                                             SUMMARY JUDGMENT AND
15 NORTHERN INNOVATIONS HOLDING                (2) DENYING ORGAIN’S MOTION
16 CORP. ET AL                                 FOR SUMMARY JUDGMENT
                Defendants.
17
18
19
20
21
22
23
24
25
26
27
28

                                           1
Case 8:18-cv-01253-JLS-ADS Document 184 Filed 03/22/21 Page 2 of 33 Page ID
                                #:53109



 1          Before the Court are cross Motions for Summary Judgment filed by Defendants and
 2 Plaintiff. (Def’s Mot., Doc. 104; Orgain’s Mot., Doc. 107-4.)1 The parties timely opposed.
 3 (Orgain’s Opp., Doc. 171; Def’s Opp., Doc.151.) And the moving parties replied. (Def’s
 4 Reply, Doc. 102; Orgain’s Reply, Doc.159-5.)
 5          Having considered the parties’ briefs and heard oral arguments, the Court GRANTS
 6 IN PART Defendants’ Motion for Summary Judgment and DENIES Plaintiff’s Motion for
 7 Summary Judgment.
 8
 9 I.       BACKGROUND
10            A. Factual Background
11          Plaintiff Orgain, Inc. (“Orgain”) and Defendants2 market nutritional supplements.
12 On July 18, 2018, Orgain filed suit against Defendants in this Court, alleging that they
13 manufacture, market, and distribute competing products with packaging that unlawfully
14 trades on Orgain’s “organic protein” mark and on Orgain’s associated dress. (First
15 Amended Complaint (“FAC”), Doc. 53, ¶¶ 50–72.) In particular, Orgain claims that
16 Defendants market and promote a competing plant-based nutritional supplement adorned
17 with the “organic protein” mark in black font against a white background, framed by green
18 bands that circumscribe the top and bottom of the packaging, as well as a green leaf motif
19 and colored boxes highlighting the dietary profile of the product. (Id. ¶¶ 30–31.) Orgain
20 further alleges that Defendants have altered the packaging of their nutritional supplement
21 on multiple occasions between July 2014 and May 2017 to more closely resemble Orgain’s
22 packaging. (Id. ¶¶ 33–35.)
23
24
        1
25       Orgain moves for summary judgment as to all claims. (Orgain Notice of Motion, Doc. 108.)
   Defendants seek summary judgment of this action in its entirety or, in the alternative, partial
26 summary judgment as to individual claims. (Doc. 104.)
       2
         This Order refers to Defendants Northern Innovations Holding Corp. dba Purely Inspired;
27 Lakeside Innovations Holding Corp.; Innovations Holding Corp.; Iovate Health Sciences
   International, Inc.; Iovate Health Sciences International U.S.A., Inc.; and Kerr Investment Holding
28 Corp. collectively as “Defendants.”
                                                     2
Case 8:18-cv-01253-JLS-ADS Document 184 Filed 03/22/21 Page 3 of 33 Page ID
                                #:53110



 1          Based on the foregoing, Orgain asserts claims for (1) federal trademark and trade
 2 dress infringement under the Lanham Act, 15 U.S.C § 1125; (2) unfair competition under
 3 Cal. Bus. & Prof. Code § 17200 et seq.; (3) false advertising under Cal. Bus. & Prof. Code
 4 § 17500 et seq.; and (4) common law claims of trademark infringement and unfair
 5 competition. (FAC ¶¶ 57–91.) Orgain seeks monetary damages, disgorgement of profits,
 6 injunctive relief, and attorneys’ fees.
 7
 8            B.    Cross Motions for Summary Judgment
 9          Defendants and Orgain now bring the present cross motions for summary judgment.
10 Each party contends it is entitled to summary judgment in its favor on Orgain’s
11 (1) trademark claim, (2) trade dress claim, and (3) state law claims. Orgain also requests
12 that, if it prevails on the liability issues, this Court issue a permanent injunction, and award
13 attorneys’ fees, and treble damages. The Court summarizes the parties’ arguments below.
14
15                 1. Orgain’s Trademark Claim
16          Defendants first argue that the term “organic protein” is generic as a matter of law,
17 and therefore not a protectable trademark, or, in the alternative, even if “organic protein” is
18 descriptive rather than generic, the undisputed facts establish that the mark has not
19 acquired secondary meaning. (Def’s Mot. at 20–23; 27–30.) Orgain opposes Defendants’
20 motion on both fronts. At oral argument, counsel for Orgain maintained that Orgain is also
21 seeking summary judgment on this claim. Orgain’s opening brief is less than clear on this
22 point. While Orgain unmistakably argues that it is entitled to summary judgment on its
23 trade dress claim, its briefing contains few arguments specific to the “organic protein”
24 term; instead, Orgain frequently discusses its “organic protein” mark as an element making
25 up its trade dress. (See Orgain’s Mot. at 12–22.) Nevertheless, based on counsel’s
26 representations, the Court will treat Orgain’s motion as seeking summary judgment on its
27 trademark claim.
28
                                                   3
Case 8:18-cv-01253-JLS-ADS Document 184 Filed 03/22/21 Page 4 of 33 Page ID
                                #:53111



 1               2. Orgain’s Trade Dress Claim
 2          Both parties contend they are entitled to summary judgment on Orgain’s claim for
 3 trade dress infringement.
 4                      i.     Trade Dress—Definition
 5          The parties’ briefs engage in some back-and-forth about the proper scope of the
 6 Orgain trade dress at issue here. As a preliminary matter, the parties agree on the basic
 7 trade dress definition Orgain pleaded in its First Amended Complaint (“FAC”), and
 8 provided in its discovery responses:
 9          Orgain’s trade dress includes the term ORGANIC PROTEIN in a unique, black font
            against a white background located just above the center of the container with its
10          house brand located above ORGANIC PROTEIN. ORGANIC PROTEIN is framed
            inside green bands that circumscribe the top and bottom portions of the container.
11          The term ORGANIC is positioned directly on top of the term PROTEIN. The term
            ORGANIC and PROTEIN are in a similar font. The front label also incorporates a
12          green leaf and colored areas highlighting the dietary profile of the product.
13   (Orgain’s Statement of Genuine Issues (“Orgain’s SGI”), Doc. 171-1, ¶ 29.)3
14          However, Defendants contend that Orgain is relying on trade dress from a number
15 of different product lines that it sold between 2013 and the present; that Orgain’s trade
16 dress designs have varied drastically and lack a unifying theme; and that the only common
17 denominator in Orgain’s diverse design and color schemes are the terms “Orgain” and
18 “Organic Protein.” (Def’s Mot. at 17; Orgain’s SGI ¶¶ 26–27.) Moreover, Defendants
19 contend that some of Orgain’s packaging (see, e.g., infra, Figures 12–14, Orgain’s SGI
20 ¶¶ 26–27) conflicts with the claimed trade dress, as defined above. For example, some of
21 the packaging does not feature the term “organic protein” between two green bands:
22
23
24
25      3
         The Court quotes the definition Defendants offer as an “undisputed fact.” Defendants are, in
26 turn, quoting the FAC and Orgain’s interrogatory responses. Orgain, in its response to
   Defendants’ Statement of Undisputed Facts, does not dispute this is the proper definition, but
27 rewords the definition (its own definition) put forward by Defendants to add further specificity to
   the arrangement of elements on the label. Orgain’s rephrased response is needlessly unwieldy and
28 does not create a “factual dispute.”
                                                     4
Case 8:18-cv-01253-JLS-ADS Document 184 Filed 03/22/21 Page 5 of 33 Page ID
                                #:53112



 1
 2
 3
 4
 5
 6
 7
           However, Orgain clarifies that it is “relying [only] on the trade dress on its flagship
 8
     plant-based powder.” (Orgain’s Opp. at 13 (citing Orgain’s SGI ¶¶ 53–55).) Specifically,
 9
     Orgain proffers the “organic protein” packaging depicted below, which first appeared on
10
     store shelves January of 2014. (Orgain’s SGI ¶ 53.)
11
12
13
14
15
16
17
18
19
20
           Orgain asserts that the label for this product was updated in August 2017 in the
21
     manner depicted below (see id.):
22
23
24
25
26
27
28
                                                  5
Case 8:18-cv-01253-JLS-ADS Document 184 Filed 03/22/21 Page 6 of 33 Page ID
                                #:53113



 1
 2
 3
 4
 5
 6
 7
 8
 9
10         Orgain asserts that all products in the “organic protein” line have the same
11 overall look and feel and include all of the asserted elements of the claimed trade dress.
12 Orgain puts forth the following exemplars to illustrate the overall commercial impression
13 of this line. (Orgain’s SGI ¶ 26.)
14
15
16
17
18
19
20         Accordingly, the trade dress at issue here is limited to Orgain’s line of “organic
21 protein” products, which must meet the undisputed definition set forth above.
22
23                    ii.    Trade Dress—the Parties’ Arguments
24          Defendants contend that most of the elements used in the claimed trade dress (i.e.,
25 use of green, bands, use of black font on white background) are functional, that the
26 remaining, non-functional elements of the trade dress are not inherently distinctive, and
27 that the trade dress has not acquired secondary meaning. (Defendants’ Mot. at 18–19.)
28 Orgain contends that its claimed trade dress, when viewed as a whole, is non-functional.
                                                  6
Case 8:18-cv-01253-JLS-ADS Document 184 Filed 03/22/21 Page 7 of 33 Page ID
                                #:53114



 1 Specifically, Orgain contends that the claimed trade dress is non-functional because it
 2 comprises at least 20 different elements, which are arranged in an arbitrary manner and do
 3 not serve to make the packaging cheaper or easier to manufacture. Orgain further contends
 4 that its trade dress is inherently distinctive and, in the alternative, that even if it is not
 5 inherently distinctive, it has acquired secondary meaning. (Orgain’s Mot. at 11–16.)
 6
 7               3. Orgain’s State-Law Claims
 8          Finally, the parties move for summary judgment on Orgain’s state-law claims.
 9 Defendants argue that Orgain’s unfair competition law claim, false advertising claim, and
10 common law claims for trademark infringement and unfair competition fail because they
11 are dependent on—or, in the case of the state trademark claim, governed by an identical
12 standard as—Orgain’s federal trademark and trade dress claims. (Def’s Mot. at 33.)
13 Orgain argues that “[r]egardless of any finding regarding trademark or trade dress rights,”
14 it is entitled to summary judgment that Defendants engaged in unfair business practices
15 and therefore violated the UCL. (Orgain’s Mot. at 22.) Specifically, Orgain contends that
16 Defendants “ha[d] no legitimate reason to copy the [trade dress] and [could] use the terms
17 ‘organic’ and ‘protein’ fairly to describe its products without deceiving consumers.” (Id.)
18
19 II.      LEGAL STANDARD
20          Summary judgment shall be granted “if the movant shows that there is no genuine
21 dispute as to any material fact and the movant is entitled to judgment as a matter of law.”
22 Fed. R. Civ. P. 56(a). See also Fortyune v. American Multi-Cinema, Inc., 364 F.3d 1075,
23 1079-80 (9th Cir. 2004) (“Summary judgment is appropriate ‘if the pleadings, depositions,
24 answers to interrogatories, and admissions on file, together with the affidavits, if any, show
25 that there is no genuine issue as to any material fact and that the moving party is entitled to
26 a judgment as a matter of law.’” (quoting Fed. R. Civ. P. 56(c))). “A dispute about a
27 material fact is genuine ‘if the evidence is such that a reasonable jury could return a verdict
28 for the nonmoving party.’” Freecycle Sunnyvale v. Freecycle Network, 626 F.3d 509, 514
                                                     7
Case 8:18-cv-01253-JLS-ADS Document 184 Filed 03/22/21 Page 8 of 33 Page ID
                                #:53115



 1 (9th Cir. 2010) (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)). A
 2 fact is “material” when its resolution “‘might affect the outcome of the suit under the
 3 governing law.’” George v. Morris, 736 F.3d 829, 834 (9th Cir. 2013) (quoting Anderson,
 4 477 U.S. at 248).
 5         “Where the party moving for summary judgment would bear the burden of proof at
 6 trial, that party ‘has the initial burden of establishing the absence of a genuine issue of fact
 7 on each issue material to its case.’” Bernstein v. Virgin Am., Inc., 365 F. Supp. 3d 980,
 8 984 (N.D. Cal. 2019) (quoting C.A.R. Transp. Brokerage Co. v. Darden Rests., Inc., 213
 9 F.3d 474, 480 (9th Cir. 2000)). By contrast, when the moving party would not bear the
10 burden of proof at trial, that party “must either produce evidence negating an essential
11 element of the nonmoving party’s claim or defense or show that the nonmoving party does
12 not have enough evidence of an essential element to carry its ultimate burden of persuasion
13 at trial.” Nissan Fire & Marine Ins. Co. v. Fritz Companies, Inc., 210 F.3d 1099, 1102
14 (9th Cir. 2000).
15         “If the moving party satisfies its initial burden of production, the nonmoving party
16 must produce admissible evidence to show that a genuine issue of material fact exists.”
17 Bernstein, 365 F. Supp. 3d at 984 (citing Nissan Fire, 210 F.3d at 1102). “If the
18 nonmoving party fails to make this showing, the moving party is entitled to summary
19 judgment.” Bernstein, 365 F. Supp. 3d at 984 (citing Celotex Corp. v. Catrett, 477 U.S.
20 317, 322–23 (1986)). The non-moving party does not meet this burden by showing “some
21 metaphysical doubt as to the material facts.” Matsushita Elec. Indus. Co., Ltd. v. Zenith
22 Radio Corp., 475 U.S. 574, 586 (1986). The United States Supreme Court has held that
23 “[t]he mere existence of a scintilla of evidence in support of the non-moving party’s
24 position is not sufficient.” Anderson, 477 U.S. at 252. Genuine factual issues must exist
25 that “can be resolved only by a finder of fact because they may reasonably be resolved in
26 favor of either party.” Id. at 250. When ruling on a summary judgment motion, the Court
27 must examine all the evidence in the light most favorable to the non-moving party.
28 Celotex, 477 U.S. at 325. The Court cannot engage in credibility determinations, weighing
                                                   8
Case 8:18-cv-01253-JLS-ADS Document 184 Filed 03/22/21 Page 9 of 33 Page ID
                                #:53116



 1 of evidence, or drawing of legitimate inferences from the facts; these functions are for the
 2 jury. Anderson, 477 U.S. at 255. Without specific facts to support the conclusion, a bald
 3 assertion of the “ultimate fact” is insufficient. See Schneider v. TRW, Inc., 938 F.2d 986,
 4 990–91 (9th Cir.1991).
 5
 6 III.    DISCUSSION
 7
           Primarily at issue in the cross-motions are Orgain’s two claims under the Lanham
 8
     Act. First, the parties argue they are entitled to summary judgment on Orgain’s claim of
 9
     trademark infringement based on Defendants’ use of the term “organic protein” in
10
     connection with its competing products. Second, the parties argue they are entitled to
11
     summary judgment on Orgain’s trade dress infringement claim based on the resemblance
12
     of Defendants’ packaging to its own. Third, the parties move for summary judgment on
13
     Orgain’s state-law claims.
14
15         A.    Orgain’s Trademark Claim
16         Orgain argues that Defendants’ use of the term “organic protein” in connection with
17 its plant-based protein powder infringes Orgain’s trademark rights. To succeed on its
18 trademark claim under the Lanham Act, Orgain must show that (1) it has a valid,
19 protectable mark, and (2) use of the mark by Defendants is likely to cause consumer
20 confusion. OTR Wheel Engineering, Inc. v. West Worldwide Services, Inc., 897 F.3d 1008,
21 1022 (9th Cir. 2018) (internal citations omitted). Because the term “organic protein” is not
22 registered, it enjoys no presumption of validity, and Orgain has the burden of proving the
23 first element is met. See Talking Rain Beverage Co. Inc. v. South Beach Beverage Co.,
24 349 F.3d 601, 603 (9th Cir. 2003).
25         Whether a term is protected, and the extent of that protection, depends on the term’s
26 strength, which is in turn determined by its distinctiveness. Trademark law categorizes
27 terms along a spectrum of distinctiveness: (1) generic; (2) descriptive; (3) suggestive; (4)
28 arbitrary; and (5) fanciful. KP Permanent Make–Up, Inc. v. Lasting Impression I, Inc.,
                                                  9
Case 8:18-cv-01253-JLS-ADS Document 184 Filed 03/22/21 Page 10 of 33 Page ID
                                 #:53117



  1 408 F.3d 596, 602 (9th Cir. 2005). Only the first two categories are at issue here.
  2 Defendants maintain that “organic protein” is a generic term and cannot be protected under
  3 trademark law, and that, even if the term is descriptive, it has failed to acquire secondary
  4 meaning. Orgain argues that its “organic protein” mark is descriptive, has acquired
  5 secondary meaning, and is therefore entitled to protection.
  6         For the reasons discussed below, the Court concludes that (1) Defendants are
  7 entitled to summary judgment because Orgain has failed to offer sufficient facts to
  8 establish that “organic protein” is a generic term and, accordingly, Orgain would not be
  9 able to meet its burden to prove non-genericness at trial and (2) Defendants are also
 10 entitled to summary judgment on the separate and alternative ground that Orgain has failed
 11 to offer sufficient facts to prove “organic protein” has acquired secondary meaning.
 12 Having concluded that Orgain cannot bear its burden of proving validity, the Court does
 13 not reach the parties’ respective arguments on whether Defendants’ use of “organic
 14 protein” is likely to create consumer confusion.
 15
 16                   1. Whether the “Organic Protein” Mark is Generic
 17         Defendants first argue that “organic protein” is generic. “Generic marks give the
 18 general name of the product; they embrace an entire class of products.” Kendall–Jackson
 19 Winery, Ltd. v. E. & J. Gallo Winery, 150 F.3d 1042, 1047 n. 8 (9th Cir.1998). Generic
 20 marks are generally not capable of receiving protection because they identify the product,
 21 rather than the product’s source. KP Permanent Make–Up, 408 F.3d at 602. Descriptive
 22 marks, on the other hand, “define a particular characteristic of the product in a way that
 23 does not require any exercise of the imagination.” Surfvivor Media, Inc. v. Survivor
 24 Productions, 406 F.3d 625, 632 (9th Cir.2005). A descriptive mark can receive trademark
 25 protection if it has acquired distinctiveness by establishing “secondary meaning” in the
 26 marketplace. Filipino Yellow Pages, Inc. v. Asian Journal Publ’ns, Inc., 198 F.3d 1143,
 27 1147 (9th Cir.1999); Kendall–Jackson Winery, 150 F.3d at 1047. An example of a
 28 descriptive mark is “Honey Roast” for nuts roasted with honey. Kendall–Jackson Winery,
                                                  10
Case 8:18-cv-01253-JLS-ADS Document 184 Filed 03/22/21 Page 11 of 33 Page ID
                                 #:53118



  1 150 F.3d at 1047 n. 8. Whereas examples of generic terms include “liquid controls” for
  2 equipment that dispenses liquid, and “Multistate Bar Examination” for a bar examination
  3 that may be taken across multiple states. Surfvivor Media, 406 F.3d at 632 (citation
  4 omitted). As noted above, because the term “Organic Protein” is unregistered, Orgain
  5 bears the burden of proving it is not generic. See e.g., Yellow Cab Co. v. Yellow Cab of
  6 Elk Grove, Inc., 419 F.3d 925, 927 (9th Cir. 2005).
  7         The Ninth Circuit often applies the “who-are-you/what-are-you” test to determine
  8 whether a term is generic. Official Airline Guides, Inc. v. Goss, 6 F.3d 1385, 1391 (9th
  9 Cir.1993). Under the test, if the mark answers the question “What are you?” then it is
 10 generic and cannot be a valid trademark because its primary significance is to describe the
 11 type of product rather than the producer. A protectable mark, on the other hand, identifies
 12 the source of the product by answering the questions: “Who are you?” “Where do you
 13 come from?” “Who vouches for you?” Filipino Yellow Pages, Inc. v. Asian Journal
 14 Publications, Inc., 198 F.3d 1143, 1147 (9th Cir. 1999) (internal citations and quotations).
 15 At the motion for summary judgment stage, courts rely on a variety of evidence to
 16 determine whether a term is generic: (1) common meanings and dictionary definitions of
 17 the words in the term; (2) use by the party opposing genericness; (3) the existence of other
 18 companies marketing a similar product under the same term; and (4) general use of the
 19 term by the public, including consumer surveys. See Premier Nutrition, Inc. v. Organic
 20 Food Bar, Inc., No. SACV 06-0827 AGR(NBX), 2008 WL 1913163, at *4 (C.D. Cal. Mar.
 21 27, 2008), aff’d, 327 F. App’x 723 (9th Cir. 2009).
 22
 23           i.     Common Meaning and Dictionary Definition
 24         Courts look to the common meaning and the dictionary definition of the words
 25 making up the term at issue. The two words making up “organic protein” are generic. As
 26 Defendants note, the Cambridge Dictionary defines “organic” as “not using artificial
 27 chemicals in the production of plants and animals for food” and “protein” as “one of the
 28 many substances found in food [.]” (Orgain’s SGI ¶ 24.) Each of the two words is generic.
                                                  11
Case 8:18-cv-01253-JLS-ADS Document 184 Filed 03/22/21 Page 12 of 33 Page ID
                                 #:53119



  1          Nor does viewing the two words here as a composite, as the Court must, save the
  2 term from being generic. See California Cooler, Inc. v. Loretto Winery, Ltd., 774 F.2d
  3 1451, 1455 (9th Cir. 1985) (“Words which could not individually become a trademark may
  4 become one when taken together.”) (internal citations and quotation marks omitted).
  5 Although there is no dictionary definition for “organic protein,” the composite term is
  6 generic on its face. See United States Patent & Trademark Office v. Booking.com B. V.,
  7 140 S. Ct. 2298, 2306 (2020) (“A compound of generic elements is generic if the
  8 combination yields no additional meaning to consumers capable of distinguishing the
  9 goods or services.”); Calista Enterprises Ltd. v. Tenza Trading Ltd., 43 F. Supp. 3d 1099,
 10 1121 (D. Or. 2014) (“Even where a composite term is not listed in a dictionary, it is still
 11 possible to find that composite term generic.”). Notably, here, applying the Ninth Circuit’s
 12 “who are you/what are you” test, the term “organic protein” answers only the question
 13 “what are you?”; the term does not tell a potential buyer anything about where the product
 14 comes from or the company vouching for its quality.
 15
 16           ii.    Use by Orgain
 17          Next, the Court looks to whether the party opposing genericness—Orgain—itself
 18 uses the term generically. Defendants point to numerous statements by Orgain that they
 19 contend show Orgain using the term “organic protein” in a generic sense. Defendants note
 20 that, in 2014, Orgain proclaimed on its website that “organic protein is the engine of all
 21 Orgain products.” (Def’s Mot. at 15 (citing Defendants’ Statement of Undisputed Facts
 22 (“Def’s SUF”), Doc. 104-2, ¶ 23).) Defendants further point to a 2019 article on Orgain’s
 23 website, quoting Orgain’s owner as stating that “[he] made it [his] mission to formulate a
 24 drink that would actually make a difference in [his] health. It had to be . . . high in organic
 25 protein . . . .” (Id.) Finally, Defendants note that Orgain’s website states: “Orgain™
 26 provides 255 nutrient-dense calories with a perfect 2:1 ratio of organic carbohydrates to
 27 organic protein,” (Frank Report Part 1, Doc. 104-9, at 56–57; Ex. H to Frank Decl. at 12),
 28
                                                   12
Case 8:18-cv-01253-JLS-ADS Document 184 Filed 03/22/21 Page 13 of 33 Page ID
                                 #:53120



  1 and that, in its FAQ, when queried “what’s in Orgain?” the website responds “16 grams of
  2 the highest quality Organic Protein to help build lean muscle.” (Id.)
  3         As Defendants correctly argue, the uses of “organic protein” cited above “do not
  4 refer to the name of [Orgain’s] product.” (Def’s Reply at 18.) As used by Orgain in the
  5 examples cited above, the term “organic protein” answers the question of “what are you”
  6 rather than “who are you.” Notably, Orgain states that “Orgain™” is comprised of
  7 “organic protein,” and “organic carbohydrates.” And when asked “what’s inside Orgain,”
  8 the website responds “16 grams of the highest quality Organic Protein.” (See Ex. H to
  9 Frank Decl. at 12.) These descriptions tend to show that Orgain used the term “organic
 10 protein” as a generic name for a class of compounds used in its nutritional supplement and
 11 not as a source-identifying term or brand name.
 12         Orgain does not dispute that it used “organic protein” in the manner described
 13 above; however, it contends that the statements show descriptive uses of “organic protein,”
 14 not generic ones. (Orgain’s Opp. at 19–20.) But Orgain fails to explain how any of the
 15 cited statements show Orgain using “organic protein” as a descriptor of its products’
 16 quality, character, or ingredients. Moreover, Orgain—not Defendants—bear the burden of
 17 proof on non-genericness. Yet, Orgain has put forth no evidence to show it has used
 18 “organic protein”—rather than “Orgain” or “Orgain’s Organic Protein”—as a brand.
 19 Orgain’s conclusory arguments that the evidence put forth by Defendants shows
 20 “descriptive” use does not create a genuine issue of material fact.
 21
 22           iii.   Use by Other Companies
 23         Defendants aver that other companies in the nutritional supplement market use
 24 “organic protein” generically in connection with their products. In support, they proffer
 25 evidence to show that at least four competitors in the protein supplement market (i.e.,
 26 Vega, Garden of Life, Orgain, and Defendants) all sell an “organic protein”-titled product.
 27 (See Def’s Mot. at 13–14; Orgain’s SGI ¶¶ 19–21.) And at least thirty more companies
 28 sell products with the words “organic” and/or “protein” prominently featured on the
                                                  13
Case 8:18-cv-01253-JLS-ADS Document 184 Filed 03/22/21 Page 14 of 33 Page ID
                                 #:53121



  1 packaging. (Id.) Defendants’ expert, Dr. Robert M. Frank, collects examples of “organic
  2 protein” titled products in his report. (Ex. I to Frank Report, Docs. 86-9 to 86-12.)4
  3          Orgain does not dispute that its direct competitors use the term “organic protein,”
  4 but argues that the examples collected in the Frank Report show descriptive use. (Orgain’s
  5 Opp. at 20; see generally McCassy Decl., Doc. 97-12.) Again, Orgain cannot defeat
  6 genericness by arguing that “organic protein” is descriptive. Evidence that other
  7 companies in the same marketplace sell products using the same term tends to show that
  8 the term refers to a category of products produced by many manufacturers, and not to a
  9 product produced by a specific manufacturer. In many of the uses documented by the
 10 Frank Report (e.g., Vega sells a product called “Organic Protein”), “organic protein” is
 11 used as the title of the product. Orgain fails to explain why, in its view, other companies’
 12 uses of “organic protein” are descriptive whereas Defendants’ use of the same term
 13 allegedly infringes Orgain’s trademark rights.
 14          Again, as the party bearing the burden of proof, it was incumbent on Orgain to
 15 proffer evidence that third parties use “organic protein” as a brand name or signifier of
 16 Orgain’s products as opposed to a type of nutritional supplement. Orgain takes issue with
 17 Defendants’ evidence of genericness. But it proffers no affirmative evidence that “organic
 18 protein” is a source-identifier.
 19           iv.    Survey Evidence
 20          The ultimate test of whether a term is generic is how it is understood by the
 21 consuming public. See United States Pat. & Trademark Off. v. Booking.com B. V., 140 S.
 22 Ct. 2298, 2307 (2020). Orgain and Defendants each proffer expert surveys to support their
 23 view of how the public understands the term “organic protein.” Orgain proffers a modified
 24
         4
 25      (1) Vega “Organic Protein & Greens;” (2) Garden of Life “Organic Protein;” (3) “Raw
    Organic Protein;” (4) Vegan Smart “Organic Protein” (5) Purity Products “Organic Protein
 26 Smoothie;” (6) Vitaminway “Organic Protein;” (7) Muscle Pharm “Plant-Based Organic Protein;”
    (8) Vegan Pure “Organic Protein;” (9) Nutribiotic “Organic Protein + Greens & Veggies;” (10)
 27 Sotru “Organic Protein;” (11) Amazing Grass “Organic Protein & Kale;” (12) Svelte “Organic
    Protein Shake;” (13) Silver Fern “Plant-Based Organic Protein + Gut Health.” (Ex. I to Frank
 28 Report.)
                                                   14
Case 8:18-cv-01253-JLS-ADS Document 184 Filed 03/22/21 Page 15 of 33 Page ID
                                 #:53122



  1 Teflon survey by Hal Poret, which shows that 74% of respondents believed the term
  2 “organic protein” was descriptive. (“Poret Survey,” Doc. 98-22.) Defendants also proffer
  3 a Teflon survey, concluding that 88% of consumers understand “organic protein” to be a
  4 category of products rather than a brand name. (“Stewart Survey,” Doc. 104-8; Def’s Mot.
  5 at 16 (citing Def’s SUF ¶ 13).)
  6          The Teflon survey is so named after the consumer survey in E.I. DuPont de
  7 Nemours & Co. v. Yoshida International, Inc., 393 F. Supp. 502 (E.D.N.Y.1975), which
  8 has since become a widely accepted and persuasive way to present evidence of genericness
  9 or lack thereof. In that case, both parties introduced survey evidence on whether “Teflon”
 10 had become a generic term. Three of the surveys asked open-ended questions. The court
 11 discounted those surveys, concluding that by asking respondents to supply common names
 12 or brand names for non-stick coating, those surveys prompted respondents to supply a
 13 name (Teflon), without regard to whether the principal significance of the name supplied
 14 was “its indication of the nature or class of an article, rather than an indication of its
 15 origin.” Id. at 527. The fourth survey, however, explained the difference between a brand
 16 name and a common name and then asked whether each of eight names, including
 17 “Teflon,” was a brand name or a common name. DuPont, 393 F.Supp. at 526. The court
 18 found that the fourth survey was “[t]he only survey which really gets down this critical
 19 element of the case,” and “that of the principal significance of the [] mark to the public.”
 20 Id. at 527. Teflon surveys are those modeled after the fourth survey in DuPont.
 21          Here, Defendants’ Stewart Survey followed the original Teflon survey design.
 22 Stewart conducted an internet questionnaire, utilizing a sample population of 400
 23 respondents who had purchased protein powder or protein shake in the past twelve months
 24 or who indicated that they planned to purchase protein powder or protein shake in the next
 25 twelve months. (See Stewart Survey, Doc. 104-8, ¶¶ 15, 21.) As is typical of the design of
 26 Teflon surveys, respondents were first given instructions regarding the meaning of a brand
 27 name and a common name. Specifically, respondents were instructed that a “common
 28 name” is “[the name] by which you to all products that are of a certain type or class,” and
                                                    15
Case 8:18-cv-01253-JLS-ADS Document 184 Filed 03/22/21 Page 16 of 33 Page ID
                                 #:53123



  1 that a “brand name” is “the brand of a particular company that makes a particular product
  2 in a larger class of products.” (Ex. C to Stewart Survey, Doc. 104-8, at ECF Page 116.) In
  3 order to assure that respondents understood the difference between a common name and a
  4 brand name, respondents were asked whether “Kraft” and “oatmeal” were brand names or
  5 common names. (Stewart Survey, Doc. 104-8, ¶ 23; Ex. C.) Respondents who did not
  6 answer these questions correctly were excluded from the remainder of the survey. (Id.)
  7         Respondents who were selected to continue with the survey were then shown a
  8 series of eight words or word combinations: Organic Protein, Oreo, Cookie, Vitamin,
  9 Pringle’s, Corn Flakes, Kellogg’s, and Burt’s Bees. (Id.) The order of presentation of
 10 these words was rotated from respondent to respondent. Respondents were asked to
 11 indicate whether they thought each word or term referred to a brand name, a common
 12 name, they did not know, or they had never heard of the word. The questionnaire then
 13 explained: “[W]e sometimes use a brand name and actually mean a common name or we
 14 use a common name and actually mean a brand name.” (Ex. C to Stewart Survey at ECF
 15 Page 120.) Respondents were asked whether they used each of the eight foregoing words
 16 or terms (including “organic protein”) mainly as a brand name, mainly as a common name,
 17 both as a brand name and common name, or that the never use the name.
 18         Of the 400 respondents in the Stewart Survey, 7% identified the words “organic
 19 protein” as a brand name, while 88% of the respondents identified the term as a common
 20 name. The remaining respondents indicated they did not know whether these words were
 21 a brand name or a common name, or they indicated that they had never heard of the name.
 22 Moreover, 67% of the respondents indicated that they primarily use organic protein as a
 23 common name, 7% indicated that they primarily use organic protein as a brand name, and
 24 7% indicated that they use organic protein as both a brand name and common name (19%
 25 indicated that they do not use the term). (Stewart Survey ¶¶ 28–30.) Accordingly,
 26 Defendants have provided evidence to show that the relevant consuming public views
 27 “organic protein” as generic.
 28         Orgain counters with the Poret Survey, which it proffers as evidence that “organic
                                                 16
Case 8:18-cv-01253-JLS-ADS Document 184 Filed 03/22/21 Page 17 of 33 Page ID
                                 #:53124



  1 protein” is descriptive, not generic. Poret explains that, while the original Teflon Survey
  2 concerned the question of whether a clearly fanciful brand name (TEFLON) had
  3 subsequently become generic, here the relevant question is whether the term “organic
  4 protein” is descriptive, as claimed by Orgain, or generic. (Poret Survey, Doc. 98-22, at 5.)
  5 Respondents were instructed that “[g]eneric terms identify a type or category of product,”
  6 while “[d]escriptive terms describe an ingredient, characteristic, quality, feature, or
  7 function of a product.” (Id.) The Poret Survey listed “automobile,” “ice cream” and
  8 “allergy medicine” as examples of generic terms and “hatchback,” “Rocky Road,” and
  9 “non-drowsy” as examples of descriptive terms. (Id. at 6.) To advance to the main
 10 questionnaire, respondents had to identify “yogurt” and “bottled water” as generic and
 11 “lemon lime” and “natural” as descriptive. (Id. at 7.) Respondents who made it through
 12 were presented with a list of words or terms to identify as “generic” or “descriptive”:
 13 organic protein, creamy chocolate, lactose free, protein drink, and nutritional supplement.
 14 (Id. at 8–9.) Of the 300 respondents, 74.3% identified “organic protein” as a descriptive
 15 term, and 24.3% answered that it is a generic term. (Id. at 11.)
 16          “To determine whether a term has become generic, we look to whether consumers
 17 understand the word to refer only to a particular producer’s goods or whether the consumer
 18 understands the word to refer to the goods themselves.” Yellow Cab Co. of Sacramento v.
 19 Yellow Cab of Elk Grove, Inc., 419 F.3d 925, 929 (9th Cir. 2005). As a trademark plaintiff
 20 asserting an unregistered mark, Orgain carries the burden of proving “organic protein” is
 21 not generic. However, the Poret Survey side-stepped the key inquiry—namely, whether
 22 respondents understood “organic protein” to refer to Orgain’s goods or whether they
 23 understood the term to refer to a category of products. Instead, the Poret Survey asked
 24 respondents to identify words and terms as either descriptive or generic. True, “generic”
 25 and “descriptive” are separate legal definitions along the distinctiveness spectrum. But the
 26 genericness inquiry is not about where consumers categorize the mark along the
 27 distinctiveness spectrum. Rather, the genericness inquiry asks whether consumers
 28 perceive the term as identifying a common name for a certain type or class of products.
                                                   17
Case 8:18-cv-01253-JLS-ADS Document 184 Filed 03/22/21 Page 18 of 33 Page ID
                                 #:53125



  1 See United States Pat. & Trademark Off. v. Booking.com B. V., 140 S. Ct. 2298, 2307
  2 (2020) (genericness turns on “whether consumers in fact perceive that term as the name of
  3 a class or, instead, as a term capable of distinguishing among members of the class”).
  4         Consumer surveys are powerful evidence in the genericness analysis because they
  5 are probative of whether the consuming public uses the term at issue generically or as a
  6 source-identifier. Poret could have questioned respondents on that point directly; instead,
  7 however, he designed a survey that failed to ask respondents whether “organic protein” is a
  8 common name or source-identifier. The Poret Survey provides no evidence of whether the
  9 consuming public views “organic protein” as a mark that identifies Orgain’s products.
 10 Accordingly, Orgain has failed to provide survey evidence of non-genericness.
 11         Moreover, even if evidence of consumers categorizing a mark as descriptive were
 12 relevant to non-genericness, the Poret Survey provided overlapping and confusing
 13 definitions of “generic” and “descriptive”; therefore, its conclusion that 74.3% of
 14 respondents identified “organic protein” as a descriptive term would not be admissible at
 15 trial. Specifically, the Poret Survey instructed participants that “[g]eneric terms identify a
 16 type or category of product,” while “[d]escriptive terms describe an ingredient,
 17 characteristic, quality, feature, or function of a product.” (Poret Survey at ECF Page 5.) It
 18 further instructed that the terms “Hatchback” for vehicle, “Rocky Road” for frozen dessert,
 19 and “Non Drowsy” for allergy medication should be deemed descriptive, not generic.
 20 (Poret Survey at ECF Pages 33–34.) But these examples are likely to confuse survey
 21 participants when viewed in light of the definitions provided. For example, “non-drowsy”
 22 is a type or category of cold medicine, and “Hatchback” is a type or category of car. By
 23 the Poret Survey’s own definition, those terms are therefore generic. Similarly, Poret’s
 24 formulation of the questions compounds the confusion. The Survey asked respondents to
 25 categorize five terms, including “organic protein,” as descriptive or generic. But the
 26 Survey failed to specify the products in connection with which the terms would be used.
 27 Whether a mark is descriptive must be determined with reference to the products or goods
 28 at issue. Surfvivor Media, Inc., 406 F.3d at 632 (9th Cir.2005) (descriptive terms “define a
                                                   18
Case 8:18-cv-01253-JLS-ADS Document 184 Filed 03/22/21 Page 19 of 33 Page ID
                                 #:53126



  1 particular characteristic of the product in a way that does not require any exercise of the
  2 imagination”) (emphasis added). The Court cannot ascertain how the 74.3% of
  3 respondents who categorized “organic protein” as descriptive understood “generic” versus
  4 “descriptive” marks. Defendants, on the other hand, have proffered persuasive survey
  5 evidence to show that the relevant consuming public identifies the term as a common
  6 name.
  7         In sum, the undisputed facts establish that the term “organic protein” is generic as a
  8 matter of law. Orgain has not, and cannot, meet its burden to prove non-genericness.
  9
 10                   2. Whether “Organic Protein” Has Acquired Secondary Meaning
 11         Having concluded that “organic protein” is generic and cannot be protected as a
 12 trademark, the Court need not reach whether the term has acquired secondary meaning.
 13 Even assuming, however, that “organic protein” is descriptive, not generic, Orgain has
 14 failed to proffer evidence to show that the term “organic protein” standing alone—as
 15 opposed to “organic protein” when used in combination with the elements making up the
 16 trade dress—has gained secondary meaning. Defendants are entitled to summary
 17 judgment on the trademark claim on the separate and alternative ground that the
 18 undisputed facts establish that Orgain cannot satisfy its burden on this front.
 19         A mark that is descriptive of the goods it identifies is not entitled to trademark
 20 protection unless a plaintiff shows that the name has acquired secondary meaning. Japan
 21 Telecom, Inc. v. Japan Telecom Am. Inc., 287 F.3d 866, 873 (9th Cir. 2002). Secondary
 22 meaning requires showing that there is “a mental recognition in buyers’ and potential
 23 buyers’ minds that products connected with the [mark] are associated with the same
 24 source.” Id. “[T]o survive summary judgment [plaintiff] [is] required to come forward
 25 with enough evidence of secondary meaning to establish a genuine dispute of fact.” Id. In
 26 evaluating secondary meaning, courts look to a number of factors, including “(1) whether
 27 actual purchasers of the product bearing the claimed trademark associate the trademark
 28 with the producer, (2) the degree and manner of advertising under the claimed trademark,
                                                   19
Case 8:18-cv-01253-JLS-ADS Document 184 Filed 03/22/21 Page 20 of 33 Page ID
                                 #:53127



  1 (3) the length and manner of use of the claimed trademark, and (4) whether use of the
  2 claimed trademark has been exclusive.” Comm. for Idaho's High Desert, Inc. v. Yost, 92
  3 F.3d 814, 822 (9th Cir.1996) (internal quotation marks omitted).
  4         In support of secondary meaning, Orgain proffers a survey conducted by Professor
  5 Michael Belch, Professor of Marketing and Director for the Centre for Integrated
  6 Marketing Communications at San Diego State University. (Belch Survey, Doc. 98-9.)
  7 Belch designed the survey to measure unaided consumer recognition of Orgain’s trade
  8 dress, and collected 304 responses from consumers who had shopped in the past year at an
  9 online retailer or at a brick and mortar store, and had purchased a plant-based protein
 10 powder in the 6 months prior. (Belch Survey ¶¶ 12–13.) The participants were shown
 11 either a “test condition” photo, featuring the Orgain trade dress, but removed the “Orgain”
 12 logo, or a “control condition” photo, featuring packaging resembling the claimed trade
 13 dress but removing the “Orgain” logo; the green bands on the label; the green lid; the term
 14 “organic protein”; and instead featuring the term “protein powder” in a font different than
 15 Orgain uses on its product. (Id. ¶ 14.)
 16         The survey then inquired (see id. ¶ 15; App. II and III):
 17          Do you associate this image with…?
 18         1. The package design of one company or brand
 19         2. The package design of more than one company or brand
 20         3. The package design of no particular company or brand
 21         4. Don’t know / none
 22         If the respondent answered that the image was the package design of one company
 23 or brand, they were asked the follow up question:
 24         What makes you say that? (Please type in your response)
 25         In the test group (viewing the package as a whole), 59% identified the package as
 26 belonging to one company or brand. In the control group, 23% believed that the control
 27 package design was that of one company or brand. The Belch Survey concluded that a net
 28
                                                  20
Case 8:18-cv-01253-JLS-ADS Document 184 Filed 03/22/21 Page 21 of 33 Page ID
                                 #:53128



  1 total of 36% (59% - 23%)5 of respondents believed Orgain package emanated from one
  2 company or brand. (Belch Survey ¶¶ 23–24.)
  3          Although the Belch Survey provides evidence that a little over one-third of
  4 consumers tend to associate the claimed trade dress as emanating from a single source, the
  5 Survey did not inquire whether “organic protein,” standing alone, has acquired secondary
  6 meaning. Indeed, the Belch Survey’s self-stated objective was “to conduct a marketing
  7 research study to determine if the trade dress of the Orgain Organic Protein branded plant-
  8 based protein powder is associated with a single source[.]” (Belch Survey at 1 (emphasis
  9 added).) And, in his deposition, Belch conceded that his survey was not designed to
 10 ascertain whether the mark, as opposed to the trade dress, had acquired secondary
 11 meaning. (Belch Depo. 242:24–243:3 (“Q: Can we agree that your survey does not
 12 establish anything regarding secondary meaning of the term Organic Protein as a
 13 trademark? A: Yeah. We were just looking at the overall trade dress and not the trademark,
 14 per se.”).) At oral argument, counsel for Orgain conceded that Orgain offers no evidence
 15 of whether consumers perceive the mark “organic protein”—as opposed to the trade dress
 16 as a whole—to emanate from a single source.
 17          Orgain also proffers evidence of its marketing expenditures and promotional efforts
 18 as circumstantial evidence of secondary meaning. Specifically, Orgain asserts that, in
 19 2014, it spent approximately $4,063,732 in marketing, promotion, and sales expenses
 20 related to its organic protein products. In 2015, Orgain spent approximately $9,739,389 in
 21 marketing, sales, and advertisement expenses related to the same. Orgain also points to
 22 print, social media, and trade show advertising. (Orgain’s Statement of Undisputed Facts
 23 (“Orgain’s SUF”), Doc. 129-2, ¶¶ 71–84.) “Evidence of sales, advertising and
 24 promotional activities may be relevant in determining whether a trade dress has acquired a
 25
 26
             5
                 The Belch Survey explains that the percent of people who consider the control image to
 27 be from a single source is treated as the estimate of noise in the study. This noise estimate is then
      subtracted from the percentage of people in the test group (the Orgain packaging with house brand
 28 removed) who identified the focal image from a single source.
                                                       21
Case 8:18-cv-01253-JLS-ADS Document 184 Filed 03/22/21 Page 22 of 33 Page ID
                                 #:53129



  1 secondary meaning,” but the advertising must draw attention to the features being claimed
  2 as a trademark or trade dress. See First Brands Corp. v. Fred Meyer, Inc., 809 F.2d 1378
  3 (9th Cir.1987). Here, Orgain proffers no evidence to show whether the term “organic
  4 protein” featured prominently in its advertising or promotional efforts—indeed, it offers
  5 only evidence of expenditure “relating to” organic protein products. But “[a] large
  6 expenditure of money does not in itself create legally protectable rights.” Id. Rather, the
  7 true test of secondary meaning is the effectiveness of the advertising effort. Art Attacks
  8 Ink, LLC v. MGA Ent. Inc., 581 F.3d 1138, 1146 (9th Cir. 2009) (emphasis added). Orgain
  9 has failed to show that it has advertised the term “organic protein” in a manner that creates
 10 a genuine issue of fact as to secondary meaning. And, where, as here, a trademark plaintiff
 11 has proffered no evidence of how consumers perceive the mark, evidence of advertising
 12 efforts will not preclude summary judgment as to secondary meaning. Id.
 13          Accordingly, Orgain has failed to create a genuine dispute of material fact on
 14 secondary meaning. Defendants are entitled to summary judgment on this separate and
 15 alternate ground.
 16
 17                   3. Conclusion as to Orgain’s Trademark Claim
 18          For the foregoing reasons, Defendants are entitled to summary judgment on
 19 Orgain’s trademark claim. Having found that Orgain cannot meet its burden of proving
 20 validity, the Court does not reach the parties’ respective arguments that they are entitled to
 21 summary judgment on whether Defendants’ use of “organic protein” is likely to cause
 22 consumer confusion.
 23
               B.   Orgain’s Trade Dress Claim
 24
             The parties also move for summary judgment on whether Defendants’ packaging
 25
      infringes on Orgain’s trade dress. “Trade dress refers generally to the total image, design,
 26
      and appearance of a product and ‘may include features such as size, shape, color, color
 27
      combinations, texture or graphics.’” Clicks Billiards, Inc. v. Sixshooters, Inc., 251 F.3d
 28
                                                   22
Case 8:18-cv-01253-JLS-ADS Document 184 Filed 03/22/21 Page 23 of 33 Page ID
                                 #:53130



  1 1252, 1257 (9th Cir. 2001) (internal citations omitted). To prevail on its claim for trade
  2 dress infringement, Orgain must prove that (1) its trade dress is nonfunctional, (2) its trade
  3 dress is inherently distinctive or has acquired distinctiveness through a secondary meaning,
  4 and (3) there is a likelihood that the consuming public will confuse Defendants’ trade dress
  5 with Orgain’s trade dress. Disc Golf Ass’n, Inc. v. Champion Discs, Inc., 158 F.3d 1002,
  6 1005 (9th Cir. 1998). The first two factors establish whether Orgain’s trade dress is
  7 entitled to protection. The final factor examines whether Defendants’ packaging infringes
  8 on Orgain’s rights.
  9          For the reasons below, triable issues of material fact preclude summary judgment in
 10 favor of either party.
 11
 12               1. Non-Functionality
 13          Orgain must first prove that the trade dress it seeks to protect is not functional. A
 14 product feature is functional and cannot serve as a trademark if (1) the product feature is
 15 essential to the use or purpose of the article or (2) it affects the cost or quality of the
 16 article; that is, if exclusive use of the feature would put competitors at a significant, non-
 17 reputation-related disadvantage. Clicks Billiards, Inc. v. Sixshooters, Inc., 251 F.3d 1252,
 18 1258 (9th Cir. 2001) (quoting Qualitex Co. v. Jacobson Prods. Co., Inc., 514 U.S. 159, 165
 19 (1995)). Functional aspects of a product make the product easier to use or cheaper to
 20 manufacture. First Brands Corp. v. Fred Meyer, Inc., 809 F.2d 1378, 1381–1382 (9th
 21 Cir.1987). Features that are arbitrarily affixed or included for aesthetic purposes are
 22 generally non-functional. Clicks Billiards, Inc., 251 F.3d at 1260; but see Au-Tomotive
 23 Gold, Inc. v. Volkswagen of Am., Inc., 457 F.3d 1062, 1073 (9th Cir. 2006) (noting that
 24 even non-utilitarian, purely aesthetic features like a box shape or use of color may be
 25 “aesthetically functional,” and therefore unprotectable, when they serve no source-
 26 identifying function and their exclusive use “would put competitors at a significant non-
 27 reputation-related disadvantage”).
 28          Defendants argue that “Orgain cannot meet its heavy burden of proving non-
                                                     23
Case 8:18-cv-01253-JLS-ADS Document 184 Filed 03/22/21 Page 24 of 33 Page ID
                                 #:53131



  1 functionality because the main constituents of Orgain’s alleged trade dress are functional.”
  2 (Def’s Mot. at 24.) First, Defendants argue that the claimed trade dress is functional to the
  3 extent it includes the term “organic protein,” which Defendants argue is generic for the
  4 reasons set forth in their trademark argument, discussed above. (Id. (citing Avery
  5 Dennison Corp. v. Acco Brands, Inc., No. CV 99-1877 DT(MCX), 1999 WL 33117262, at
  6 *15 (C.D. Cal. Oct. 12, 1999) (“functional aspects of packaging include the use of generic
  7 or descriptive matter that informs the public of the nature or function of the product
  8 itself”).) Defendants’ second argument is that having “organic protein” or any other term
  9 “in unique black font against a white background” is a functional. (Def’s Mot. at 19.)
 10 Defendants proffer evidence to show this is a basic packaging strategy used by many other
 11 companies to make lettering visible from shelves. (Def’s Mot. at 19 (Def’s SUF ¶ 31).)
 12 Finally, Defendants contend that use of “green bands that circumscribe the top and bottom
 13 portions of the container” and “incorporat[ing] a green leaf and colored areas highlighting
 14 the dietary profile of the product” are functional, because green and a green leaf are
 15 commonly used to identify “organic” or healthy products. In support, Defendants submit
 16 evidence that at least nine products sold in connection with the words “organic” and
 17 “protein” use a green-dominant theme and that over twenty of Orgain’s competitors use a
 18 “green leaf” on their packaging to denote “organic” or healthy. (Def’s Mot. at 19 (Def’s
 19 SUF ¶¶ 34–35).)
 20         True, at first glance many of the individual elements comprising the claimed trade
 21 dress appear functional. For example, the shape of Orgain’s packaging and the green
 22 bands on the label—while not per se unprotectable—are also commonly used by other
 23 companies in the organic protein market, and Orgain has adduced no evidence that
 24 granting it exclusive use of those elements would not put those competitors at a
 25 “significant non-reputation-related disadvantage.” See Au-Tomotive Gold, Inc., 457 F.3d
 26 at 1073 (9th Cir. 2006) (purely aesthetic features like a box shape or use of color are not
 27 protected when they do not serve as a source-identifier and when granting exclusive use of
 28 them would put competitors at a significant non-reputation-related disadvantage). But
                                                  24
Case 8:18-cv-01253-JLS-ADS Document 184 Filed 03/22/21 Page 25 of 33 Page ID
                                 #:53132



  1 when evaluating functionality “[the] focus [is] not on the individual elements [of the trade
  2 dress], but rather on the overall visual impression that the combination and arrangement of
  3 those elements create.” Clicks Billiards, Inc., 251 F.3d at 1259.
  4         Importantly, here, Orgain does not contend that competitors should be precluded
  5 from using any individual element comprising its claimed trade dress. (Opp. at 12.)
  6 Rather, Orgain claims exclusive rights only as to this specific combination of elements
  7 comprising the claimed trade dress. Specifically, Orgain contends that its claimed trade
  8 dress, when taken as a whole, is non-functional because “[it] is an arbitrary combination of
  9 a number of different elements.” (Orgain’s Opp. at 4 (citing Orgain’s SGI ¶ 29).) Orgain
 10 offers testimony in support of the assertion that its trade dress does not provide a practical
 11 benefit in the manufacturing process. (Orgain’s Opp. at 12 (citing Orgain’s SGI ¶ 56).)
 12 Accordingly, Orgain has proffered evidence showing that the elements of the claimed trade
 13 dress are arranged as they are for aesthetic reasons, not because of any functional
 14 advantage. Clicks Billiards, Inc. v. Sixshooters, Inc., 251 F.3d 1252, 1262 (9th Cir. 2001)
 15 (“That the design decisions were made for aesthetic reasons—and not, for example,
 16 because they were the only, the cheapest, or the most efficient way to design [the trade
 17 dress]—is evidence of nonfunctionality.”).
 18         Accordingly, Defendants are not entitled to summary judgment on the basis of
 19 functionality.
 20
 21               2. Distinctiveness
 22         A trademark plaintiff must show its trade dress is inherently distinctive or has
 23 acquired distinctiveness by developing secondary meaning. Clicks Billiards, Inc., 251
 24 F.3d at 1262.
 25                   i.     Inherent Distinctiveness
 26         Orgain first contends that its trade dress is inherently distinctive. “The predominant
 27 test for inherent distinctiveness asks whether (1) the design or shape is a common, basic
 28 shape or design; (2) it was unique or unusual in a particular field; and (3) it was a mere
                                                   25
Case 8:18-cv-01253-JLS-ADS Document 184 Filed 03/22/21 Page 26 of 33 Page ID
                                 #:53133



  1 refinement of a commonly-adopted and well-known form of ornamentation for a particular
  2 class of goods which consumers view as mere ornamentation.” Mattel, Inc. v. MGA Ent.,
  3 Inc., 782 F. Supp. 2d 911, 1004 (C.D. Cal. 2011) (citing McCarthy on Trademarks and
  4 Unfair Competition § 8:13 (4th ed. 2010), which in turn cites Seabrook Foods, Inc. v. Bar–
  5 Well Foods, Ltd., 568 F.2d 1342 (C.C.P.A.1977)). “If the trade dress is of such an unusual
  6 design that a buyer will immediately rely on it to differentiate the source of the product,
  7 then it is inherently distinctive.” See id.
  8         Orgain offers no analysis of these factors, nor does it proffer any specific evidence
  9 in support. Instead, Orgain—the party carrying the burden of proof—maintains that the
 10 claimed trade dress is inherently distinctive because “[it is] an arbitrary combination of a
 11 number of different elements.” (Orgain’s Mot. at 4–5 (citing Orgain’s SUF ¶¶ 20–21).)
 12 Orgain also takes issue with Defendants’ rebuttal evidence. Specifically, Orgain argues
 13 that Defendants’ evidence that other competitors employ trade dress elements similar to
 14 Orgain’s does not undermine inherent distinctiveness because “the specific combination of
 15 elements in the [claimed trade dress] has not been adopted by anyone other than
 16 [Defendants].” (Orgain’s Mot. at 12.) Orgain asserts that “[w]here different competitors
 17 separately employ different elements of a trade dress, the key inquiry is whether the
 18 combination of all elements conveys an overall impression of distinctiveness.” (Id. (citing
 19 Cf. Paramount Farms Int’l LLC v. Keenan Farms Inc., 2012 U.S. Dist. LEXIS 190634,
 20 *15 (C.D. Cal. 2012).) Orgain asserts in conclusory fashion that because its claimed trade
 21 dress is comprised of an arbitrary combination of different shapes, colors, and terms,
 22 “there can be no question that it is inherently distinctive” when viewed as a whole. (Id.)
 23         Orgain’s conclusory assertions of inherent distinctiveness are insufficient. As
 24 discussed above, Defendants have proffered evidence that Orgain’s competitors use
 25 packaging with similar aesthetic elements, including jar-shaped containers; labels using
 26 color block; the term “organic protein” on the label; a green leaf to denote “organic” food;
 27 and color bands. (Def’s Mot. at 19 (citing Def’s SUF ¶¶ 34–35).) Defendants’ evidence
 28 tends to prove that Orgain’s design is “a mere refinement of a commonly-adopted and
                                                   26
Case 8:18-cv-01253-JLS-ADS Document 184 Filed 03/22/21 Page 27 of 33 Page ID
                                 #:53134



  1 well-known form of ornamentation for a particular class of goods” and not “unique or
  2 unusual in [this] particular field.” See Mattel, Inc., 782 F. Supp. 2d at 1004. Moreover,
  3 the claimed trade dress, on its face, features a “common, basic” package shape and label
  4 design. Id. Orgain fails to explain how its simple packaging creates an overall design
  5 distinct from trade dress used by others in the nutritional supplement market. Cf.
  6 Paramount Farms Int’l LLC, 2012 U.S. Dist. LEXIS 190634, *15 (C.D. Cal. 2012)
  7 (finding a triable issue existed as to inherent distinctiveness in part because plaintiff used a
  8 different color scheme and font than its competitors).
  9          In sum, Orgain has failed to meet its burden on inherent distinctiveness, so the
 10 Court must analyze whether it has alternatively met its burden by showing secondary
 11 meaning.
 12                    ii.    Secondary Meaning
 13          Orgain argues that even if the claimed trade dress is not inherently distinctive it has
 14 acquired secondary meaning. Trade dress acquires secondary meaning when the
 15 purchasing public associates it with a single producer rather than with the product itself.
 16 Int’l Jensen, Inc. v. Metrosound U.S.A., Inc., 4 F.3d 819, 823 (9th Cir. 1993)(internal
 17 citations omitted). In other words, secondary meaning is “a learned association, an
 18 ‘acquired distinctiveness.’” Id. (quoting Two Pesos, Inc. v. Taco Cabana, Inc., 505 U.S.
 19 763, 769 (1992)). “While evidence of a manufacturer’s sales, advertising and promotional
 20 activities may be relevant in determining secondary meaning, the true test of secondary
 21 meaning is the effectiveness of this effort to create it.” Int’l Jensen, Inc., 4 F.3d at 824
 22 (internal citations omitted).
 23          Whether a trade dress has acquired secondary meaning is a question of fact that can
 24 be resolved on summary judgment only when the undisputed record leaves no triable issue.
 25 See Cont’l Lab’y Prod., Inc. v. Medax Int’l, Inc., 114 F. Supp. 2d 992, 1002 (S.D. Cal.
 26 2000). Courts look to (1) the length and exclusivity of use of the trade dress; (2) the nature
 27 and extent of advertising and promotion of the trade dress (3) the existence of substantial
 28 advertising; (4) the product’s established place in the market; (5) proof of intentional
                                                    27
Case 8:18-cv-01253-JLS-ADS Document 184 Filed 03/22/21 Page 28 of 33 Page ID
                                 #:53135



  1 copying; and (6) “look for” promotion that specifically directs a consumer’s attention to
  2 those features claimed as trade dress. Walker & Zanger, Inc. v. Paragon Indus., Inc., 549
  3 F. Supp. 2d 1168, 1179–80 (N.D. Cal. 2007) (citing Yankee Candle Co. v. Bridgewater
  4 Candle Co., LLC, 259 F.3d 25, 42 (1st Cir. 2001).)
  5         As to direct evidence of secondary meaning, Orgain proffers the Belch Survey,
  6 summarized in Section III. A, which concluded that 36% of survey respondents identify
  7 the Orgain trade dress as emanating from a single source. (Belch Survey ¶¶ 23–24.)
  8 Defendants cite to Walker & Zanger, Inc. v. Paragon Industries, Inc. for the proposition
  9 that Orgain’s own results undercut its argument that the trade dress has gained secondary
 10 meaning. (Def’s Opp. at 25 (citing Walker & Zanger, Inc. v. Paragon Indus., Inc., 549 F.
 11 Supp. 2d 1168, 1179 (N.D. Cal. 2007).) While some courts have, indeed, found a 36%
 12 showing did not raise a factual issue precluding summary judgment and instead weighed
 13 against a finding of secondary meaning, see Walker & Zanger, other courts have found a
 14 35% showing to be persuasive evidence of secondary meaning, see Shuffle Master, Inc v.
 15 Awada, 2006 U.S. Dist. LEXIS 66418, *8 (Nev. 2006). While the Blech Survey alone
 16 may have been insufficient to save Orgain from summary judgment, here, Orgain has also
 17 proffered circumstantial evidence of secondary meaning.
 18         First, Orgain proffers evidence of actual confusion. Substantial evidence of actual
 19 confusion can be evidence of secondary meaning, whereas evidence of a few instances of
 20 such confusion cannot preclude summary judgment. Japan Telecom, Inc. v. Japan
 21 Telecom Am. Inc., 287 F.3d 866, 874 (9th Cir. 2002). Here, Orgain identifies 16 Amazon
 22 reviews, 23 social media posts, and 13 direct communications from consumers. (Orgain’s
 23 Reply at 16–23.) Some of the examples Orgain sets forth tend to show consumers actually
 24 confused Defendants’ product for Orgain’s. (Orgain’s SUF ¶155 (Amazon review stating,
 25 “DON’T BUY!!! Bought this thinking it was Orgain on accident (which I use daily and
 26 absolutely love)”).) Other examples show consumers reaching out to Orgain to note the
 27 similarities between Defendants’ packaging and Orgain’s. (Orgain’s SUF ¶154 (“Any
 28 chance you can look into the similarities of ‘Purely Inspired’ packaging? I bought it on
                                                 28
Case 8:18-cv-01253-JLS-ADS Document 184 Filed 03/22/21 Page 29 of 33 Page ID
                                 #:53136



  1 Amazon thinking it was your company’s product and upon getting it realized it wasn’t
  2 Orgain!”).) Finally, Orgain puts forward evidence that marketing representatives
  3 mistakenly placed Orgain’s shelf talkers—the advertisements that stick out from shelves in
  4 stores—on Defendants’ products in Walmart stores, or vice versa. (Orgain’s SUF ¶107.)
  5 Thus, evidence of actual confusion is substantial, but not overwhelming given the size of
  6 the relevant market and the fact that the parties’ products have co-existed on the market
  7 since 2015.
  8         Second, Orgain has done enough to raise a genuine dispute of fact about whether
  9 Defendants copied Orgain’s trade dress. Orgain has no direct evidence on this point, but it
 10 argues that because Orgain’s name came up in surveys that Defendants conducted in
 11 support of rebranding their label, and because the rebranded labels look more like Orgain’s
 12 than Defendants’ previous label, it must be inferred that Defendants copied Orgain’s label
 13 to trade on its success. Specifically, Orgain proffers evidence that, in June 2015,
 14 Defendants conducted a survey comparing their product’s first label to its eventual second
 15 label. (Orgain’s SUF ¶¶ 78–80.) The survey indicated that 77% of those surveyed
 16 preferred the new label, and that the new green theme and the colorful display of nutrition
 17 facts, which are parts of Orgain’s claimed trade dress, contributed to the new label’s
 18 popularity. (Id.) Moreover, as part of a second rebrand, Defendants conducted two
 19 additional surveys in June 2017. In one survey, consumers were asked to write the names
 20 of all the plant-based protein brands they knew of, and Orgain was a frequent response.
 21 (Id. ¶ 62.30.) Ultimately, Defendants introduced a third label. (Id. ¶¶ 88–89.) Orgain
 22 points to the more prominent “organic protein” mark on this the new label as proof that
 23 Defendants intended to copy Orgain.
 24         Defendants counter that Orgain’s circumstantial evidence does not hold up because,
 25 given this sequence of events, there is no dispute that Defendants designed their “organic
 26 protein” packaging before surveying consumers about Orgain. Defendants explain that, in
 27 2015, they tested their new “organic protein” packaging against different designs to
 28 determine consumer preferences. (Def’s Opp. at 26–28 (citing Def’s Statement of Genuine
                                                  29
Case 8:18-cv-01253-JLS-ADS Document 184 Filed 03/22/21 Page 30 of 33 Page ID
                                 #:53137



  1 Issues (“Def’s SGI”), Doc. 151-1, ¶ 210).) Of the four studies Defendants conducted in
  2 2015, two featured packaging used by Defendants’ competitors—but not Orgain—and the
  3 third study featured no competing products at all. In a fourth study, conducted in July
  4 2015, Defendants included Orgain along with several other competitors. (Id.) Moreover,
  5 Defendants put forward a declaration by Suleen Mak, Defendants’ brand director,
  6 explaining that the changes to Defendants’ packaging were unrelated to Orgain. (See
  7 generally Mak Decl., Doc. 91-9.) For example, Mak explains that Defendants changed the
  8 name of their product from “100% plant-based protein” to “organic protein” because they
  9 had just gotten the product approved as organic by the USDA. (Mak Decl. ¶ 8.) But
 10 Defendants do not dispute that they measured the popularity of their new packaging
 11 against Orgain’s before launching it, and there remains a triable issue about whether the
 12 similarity between Orgain packaging and Defendants’ leads to an inference of actual
 13 copying.
 14         In sum, because Orgain has proffered some direct evidence of secondary meaning
 15 and has additionally raised sufficient circumstantial evidence of secondary meaning,
 16 Defendants are not entitled to summary judgment on the basis that the product lacks
 17 distinctiveness. The Court next examines the likelihood of confusion element of the trade
 18 dress claim.
 19
 20                3. Likelihood of Confusion
 21         In order to establish likelihood of customer confusion, Orgain must prove that
 22 Defendants’ trade dress is likely to cause a reasonably knowledgeable and prudent
 23 purchaser to believe that Orgain manufactures or sponsors Defendants’ products. Levi
 24 Strauss & Co. v. Blue Bell, Inc., 778 F.2d 1352, 1359 (9th Cir. 1985). In the Ninth Circuit,
 25 the familiar Sleekcraft factors guide the likelihood of confusion analysis: (1) the similarity
 26 of the trade dress; (2) the relatedness of the two companies’ services; (3) the marketing
 27 channels used; (4) the strength of Plaintiff’s mark; (5) Defendants’ intent in selecting its
 28 mark; (6) evidence of actual confusion; (7) the likelihood of expansion into other markets;
                                                   30
Case 8:18-cv-01253-JLS-ADS Document 184 Filed 03/22/21 Page 31 of 33 Page ID
                                 #:53138



  1 and (8) the degree of care likely to be exercised by purchasers. See AMF Inc. v. Sleekcraft
  2 Boats, 599 F.2d 341 (9th Cir.1979).
  3         Here, Orgain has done enough to create a genuine issue of material fact as to
  4 likelihood of confusion. First, the first three factors—the similarity of the dress, proximity
  5 of the goods, and use of similar marketing channels—constitute the “controlling troika in
  6 the Sleekcraft analysis.” GoTo.com, Inc. v. Walt Disney Co., 202 F.3d 1199, 1205 (9th
  7 Cir. 2000). It is undisputed that both Orgain and Defendants sell organic nutritional
  8 supplement products. (See Orgain’s SGI ¶ 98.) Nor do Defendants seriously dispute
  9 Orgain’s evidence that the parties sell their products through similar marketing channels.
 10 (See Def’s Opp. at 28–30; Def’s SGI ¶ 25.) Moreover, the claimed trade dress and the
 11 allegedly infringing trade dress (pictured below) are similar in their overall impression.
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21         Second, there exist triable issues about actual confusion. As discussed in Section
 22 III. B. 2., Orgain proffers evidence of actual confusion. While that evidence does not
 23 conclusively establish secondary meaning or likelihood of confusion, it does raise triable
 24 issues as to both.
 25         Third, the parties submit competing expert surveys about whether consumers are
 26 likely to confuse the source of the products. Defendants proffer an Eveready survey
 27 conducted by Matthew G. Ezell, a marketing research specialist, to show that the potential
 28
                                                  31
Case 8:18-cv-01253-JLS-ADS Document 184 Filed 03/22/21 Page 32 of 33 Page ID
                                 #:53139



  1 for consumer confusion is very low. (Ezell Survey, Doc. 95-13.) 6 The Ezell Survey
  2 found that “approximately four percent [] of the relevant universe of potential purchasers
  3 of protein supplements are likely to be confused or deceived by the belief that Defendant’s
  4 ‘Organic Protein’ product is made or put out by Orgain[.]” (Id. ¶ 7.) Orgain counters with
  5 a Squirt survey7 by its own expert, Hal Poret, which concluded that a 17% likelihood of
  6 confusion exists as to the powder products. (Poret Squirt Survey, Doc. 98-21.)
  7 Predictably, the parties take issue with the methodology employed by the other party’s
  8 expert. For example, Defendants argue that a Squirt survey is, by Poret’s own admission,
  9 more suggestive than an Eveready survey. (Def’s SGI ¶ 301.) Orgain maintains that the
 10 Ezell Survey lacks probative weight because it does not measure whether consumers
 11 would be confused if they encountered the products in the marketplace, which is likely to
 12 be the case where, as here, market proximity is high. (Orgain’s SGI ¶ 14.) But the parties’
 13 arguments go to the weight of the evidence not its admissibility and are not appropriately
 14 disposed of on summary judgment. See Globefill Inc. v. Elements Spirits, Inc., 2016 WL
 15 8944644, at *5 (C.D. Cal. Sept. 20, 2016) (weighing the competing Squirt and Eveready
 16 surveys that the parties presented at trial).
 17          Finally, as discussed in Section III. B. 2, supra, triable issues remain as to whether
 18 Defendants intentionally copied Orgain’s trade dress.
 19          For the foregoing reasons, Orgain has done enough to raise genuine issues as to
 20 likelihood of confusion and Defendants’ motion for summary judgment as to the trade
 21 dress infringement claim is DENIED. Of course, as the Court has pointed out, while
 22
 23      6
             “[T]he ‘Eveready’ survey format does not inform survey respondents what the senior mark
      is, but assumes that they are aware of the mark from their prior experience.” 6 McCarthy on
 24   Trademarks and Unfair Competition § 32:174 (5th ed.). A standard Eveready survey presents
 25   respondents with the accused product and asks respondents to identify the producer of the product.
           7
             “The “Squirt” format presents a survey respondent with both of the conflicting marks. It does
 26   not assume that the respondent is familiar with the senior mark. The method of telling the
      respondent what the senior mark is can be either direct or subtle. A direct method is to ask in some
 27   fashion if the respondent thinks that goods or services bearing the parties’ marks A and B are from
      the same source or different sources.” 6 McCarthy on Trademarks and Unfair Competition §
 28   32:174.50 (5th ed.)
                                                      32
Case 8:18-cv-01253-JLS-ADS Document 184 Filed 03/22/21 Page 33 of 33 Page ID
                                 #:53140



  1 Orgain has raised genuine issues of material fact, it has not established its entitlement to
  2 summary judgment in its favor on its trade dress infringement claim.
  3            C. Orgain’s State-Law Claims
  4         Orgain and Defendants each argue in conclusory fashion that they are entitled to
  5 summary judgment on the state-law claims.
  6         Defendants contend that Orgain’s state-law claims fail because they are dependent
  7 on the doomed trademark and trade dress claims. As discussed above, Orgain’s trade dress
  8 claim survives. Accordingly, Defendants are not entitled to summary judgment on
  9 Orgain’s state-law claims. Nor is Orgain entitled to summary judgment on its unfair
 10 competition claim. Orgain argues that, trademark and trade dress rights notwithstanding,
 11 Defendants engaged in unfair competition because they copied Orgain’s design. As
 12 discussed above, triable issues of fact preclude summary judgment on the issue of actual
 13 copying.
 14
      IV.   CONCLUSION
 15
            For the foregoing reasons, Defendants’ motion is GRANTED IN PART.
 16
      Defendants are entitled to summary judgment on Plaintiff’s federal trademark claim.
 17
      Defendants’ motion is otherwise DENIED. Orgain’s motion is DENIED in its entirety.
 18
 19 DATED: March 22, 2021
 20                                                ______________________________
 21                                                JOSEPHINE L. STATON
                                                   UNITED STATES DISTRICT JUDGE
 22
 23
 24
 25
 26
 27
 28
                                                   33
